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                                                        FILED IN OPEN COURT
                                                            U.S.D.C.-Atlanta


                                                              SEP 1 2 2019
                                                        JAMI£§ N. HATTEN, Clerk
                                                       /T"'T^'o'^7-.''
                                                       '' 6^3^ Deputy
                                                                  DeputyCClerk



          SPECIAL INTERROGATORIES TO THE JURY
Do you find from a preponderance of the evidence:



1. That Eagle Bus, Inc. seated Sabrina Williams behind Asian
passengers on its buses.

Answer Yes or No?

If your answer is "No," this ends your deliberations, and your foreperson
should sign and date the last page of this verdict form. If your answer is
"Yes," go to the next question.




2. That Sabrina Williams' race was a motivating factor that prompted
Eagle Bus, Inc. to seat her behind Asian passengers?

Answer Yes or No?



3. That Sabrina Williams should be awarded damages to compensate
for physical and emotional pain and mental anguish?

Answer Yes or No? ^ es

If your answer is "Yes," in what amount? $ !&0»<30

     If you did not award damages in response to Question No. 3, this
will end your deliberations, and your foreperson should go to the end of
this verdict form to sign and date it. If you awarded damages in response
to Question Nos. 3, go to the next question.
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4. That punitive damages should be assessed against Eagle Bus, Inc.?

Answer Yes or No? No



5. Is Li Wang responsible for the damages awarded against Eagle
Bus, Inc.?

Answer Yes or No?



6. The Court asks for the following advisory opmion. Your answer
here does not impact, what, if any, damages are awarded to Plaintiff.

       Did Sabrina Williams request to be seated in the front row of the
bus?

       Answer Yes or No? Y^S

       Did Defendant Eagle Bus, Inc. deny her request in violation of
Federal Law, as such law is described by the Court?

       Answer Yes or No? 7^


                    The S3. day of September, 2019




                        Foreperson
